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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                     )       CRIMINAL NO.            t1-C~ -11S3 -DQJ-\
                                              )
                       Plaintiff,             )       Title 18, United States Code,
                                              )       Sections 922(g)( 1) & 924(a)(2)
vs.                                           )
                                              )       Title 26 , United States Code,           FILED
LEE E. N ICHOLS,                              )       Section 5872
                                              )                                                SEP 0 6 2017
                                              )       Title 28, United States Code,
                       Defendant.             )            · 246 1( )
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                                          INDICTMENT

       THE GRAND JURY CHARGES:

                                            COUNTl
                                (Felon in Possession of a Firearm)

       On July 16,20 17, in Momoe County, within the Southern District of Illinois,

                                         LEE E. NICHOLS,

defendant herein, having previously been convicted on February 10, 20 15, of a felony punishable

by a term of imprisonment exceeding one year, namely, Unlawful Possession of a Weapon By a

Felon, in Case No. 20 14-CF-670, in St. Clair County, Illinois, did knowingly possess, in and

affecting commerce, a firearm, to wit: a Colt 22 short pistol, bearing serial number 18874; all in

violation of Title 18, United States Code, Section 922(g)(l), and 924(a)(2).

                                    FORFEITURE ALLEGATION
                                       (Forfeiture of Firearm)

       Upon conviction of the offense charged in Count 1 of this Indictment, Defendant LEE E.

NICHOLS, shall forfeit to the United States, pursuant to Title 26, United States Code, Section

5872, and Title 28, United States Code, Section 2461(c), all fireann s and ammunition involved

in or used in any knowing violation of the offense described in Count 1 of this Indictment,

including, but not limited, to the following: a Colt 22 short p istol, bearing seria l number 18874.
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                                        A TRUE BILL


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ROBERT L. GARRISON
Assistant United States Attorney




Recommended Bond: Detention.




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